Case 1:09-cr-00141-WTL-KPF          Document 121        Filed 11/03/10     Page 1 of 4 PageID #:
                                           336



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                       )
                                                 )
                Plaintiff,                       )
                                                 )
        vs.                                      )      Cause No. 1:09-cr-141-WTL-KPF-2
                                                 )
 CANDIDO NOLASCO-CANO,                           )
                                                 )
                Defendant.                       )
                                                 )

                             ENTRY ON MOTION TO DISMISS

        Before the Court is the Defendant’s Motion to Dismiss (Docket No. 118). This motion is

 fully briefed, and the Court, being duly advised, now GRANTS the motion for the reasons set

 forth below.

                                    I. LEGAL STANDARD

        There is very little case law regarding a defendant who was assumed to be an adult but

 who later challenges that status. Courts overwhelmingly seem to conclude that the initial burden

 of proving a defendant’s age falls on the Government, which must offer prima facie evidence of

 a defendant’s adult status. Once the Government has met its burden, the defendant may produce

 evidence of his juvenile status. If the defendant comes forward with such evidence, then the

 Government has an opportunity to rebut with additional information. See United States v.

 Alvarez-Porras, 643 F.2d 54, 66-67 (2d Cir. 1981). After receiving all of the evidence, the Court

 must determine, by a preponderance of the evidence, the date on which the defendant was born.

                                      II. BACKGROUND

        The Defendant, Candido Nolasco-Cano, was arrested on September 3, 2009, and charged

 with conspiracy to distribute more than fifty grams of methamphetamine in violation of 21
Case 1:09-cr-00141-WTL-KPF           Document 121        Filed 11/03/10      Page 2 of 4 PageID #:
                                            337



 U.S.C. §§ 841(a)(1) and 846. Subsequently, a grand jury returned an indictment charging

 Nolasco-Cano with: (1) conspiracy to possess with intent to distribute and/or distribute fifty

 grams or more of methamphetamine; (2) distribution of five grams or more of

 methamphetamine; and (3) distribution of fifty grams or more of methamphetamine.

        In October 2010, Nolasco-Cano filed a motion to dismiss (Docket No. 118), claiming that

 he was only seventeen at the time of his arrest. In support of his motion, Nolasco-Cano

 submitted a copy of his Mexican civil registration, which lists his date of birth as December 16,

 1991. The Mexican consulate has opined that “it appears that this particular document is a valid

 one.” Docket No. 118 Ex. 1 at 1.

        In response to Nolasco-Cano’s motion to dismiss, the Government alleges that the

 Defendant “who is an alien illegally and unlawfully in the United States, is attempting to

 perpetrate a fraud upon the Court by claiming that he was seventeen at the time of his arrest.”

 Docket No. 119 ¶ 3. The Government cites two instances in which Nolasco-Cano told state law

 enforcement agents that his date of birth was December 16, 1985. In addition, the Government

 provides a copy of a state court “Criminal History Index” which indicates that Nolasco-Cano

 was born in 1985. See Docket No. 119 Ex. 1. Finally, the Government notes that during the

 instant investigation Nolasco-Cano told pretrial service workers that he was born in 1985.

                                        III. DISCUSSION

        Nolasco-Cano does not argue that the Government failed to satisfy its initial burden and

 the Court concludes that there was indeed sufficient evidence to believe that Nolasco-Cano was

 born in 1985 and was twenty-three years old on the date of his arrest. On two prior occasions

 Nolasco-Cano told Indiana law enforcement officials that he was born in 1985. In addition, after


                                                  2
Case 1:09-cr-00141-WTL-KPF           Document 121         Filed 11/03/10             Page 3 of 4 PageID #:
                                            338



 being arrested in this case, Nolasco-Cano again told pretrial services that he was born in 1985.

 The Government has also submitted a state record in which Nolasco-Cano gave his date of birth

 as December 16, 1985. See Docket No. 119 Ex. 1.

        However, Nolasco-Cano has now produced prima facie evidence that his date of birth is

 actually December 16, 1991. In support of this assertion he has submitted a copy of his Mexican

 civil registration, which the Mexican consulate has certified as apparently valid. In its response

 to the motion to dismiss, the Government relies once again on Nolasco-Cano’s previous

 statements to law enforcement and pretrial services officials, as well as a state record.

        Although the parties have presented very little evidence on the issue, the Court concludes

 that the preponderance of the evidence supports finding that Nolasco-Cano’s birth date is

 December 16, 1991, and he was, at the time of his arrest, seventeen years old. Critical to the

 Court’s decision is the fact that Nolasco-Cano has produced an apparently valid civil registration

 that lists his date of birth as December 16, 1991. This is the only official documentation of

 Nolasco-Cano’s birth, and in the Court’s opinion, it is determinative in this instance.

                                          CONCLUSION

        For the reasons stated herein, the Defendant’s Motion to Dismiss (Docket No. 118) is

 GRANTED.

        SO ORDERED: 11/03/2010



                                                       _______________________________
                                                        Hon. William T. Lawrence, Judge
                                                        United States District Court
                                                        Southern District of Indiana


 Copies to:


                                                  3
Case 1:09-cr-00141-WTL-KPF         Document 121   Filed 11/03/10   Page 4 of 4 PageID #:
                                          339



 Timothy J. Burns
 timothyburns@110lawoffice.com

 Barry D. Glickman
 United States Attorney’s Office
 barry.glickman@usdoj.gov

 U.S. Marshals Service

 U.S. Probation Office




                                            4
